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                                                  Greg Childs Reliance Exhibits
Trial Ex. No.            Bates No.             Date                                   Subject/Description                               Expert/Report
                BP-HZN-BLY0000001 -
TREX-0001       BP-HZN-BLY0000193             9/8/10       BP Deepwater Accident Investigation Report (Bly Report)                          Childs
                BP-HZN-2159MDL00408005 -
TREX-00215      BP-HZN-2159MDL00408026        8/25/09      BP GP 10-10, Well Control Group Practice                                         Childs
                BP-HZN-MBI00037507 -                       E-mail from David Sims stating that he can't point to anything TO has done
TREX-00274      BP-HZN-MBI00037508            7/17/07      wrong to cause BOP ram failures                                                  Childs
                TRN-USCG_MMS-00043810
                TRN-USCG_MMS-00044078 -
                TRN-USCG_MMS-00044107
                TRN-MDL-00286767
                TRN-USCG_MMS-000287035 -
TREX-00590      TRN-USCG_MMS-000287064                     Transocean Well Control Handbook                                                 Childs
                TRN-USCG_MMS-00038807 -
TREX-01159      TRN-USCG_MMS-00038854         4/20/10      Event Log                                                                        Childs
                                                           DNV Final Report Related to Forensic Examination of Deepwater Horizon
TREX-01164                                    3/20/11      Blowout Preventer, Volume I                                                      Childs
                                                           DNV Final Report Related to Forensic Examination of Deepwater Horizon
TREX-01165                                    3/20/11      Blowout Preventer, Volume II; Appendices                                         Childs
TREX-01168                                                 30 C.F.R. § 250.446                                                              Childs
TREX-01169                                                 American Petroleum Institute Recommended Practices 53                            Childs
                TRN-HCJ-00122173 -
                TRN-HCJ-00122175
                TRN-MDL-00266675 -                         Deepwater Horizon BOP Major Component Refurbishment and Major
TREX-01172      TRN-MDL-00266678                           Maintenance Completed                                                            Childs
                TRN-HCJ-00122186 -
                TRN-HCJ-122189
                TRN-MDL-002666688 -
TREX-01173      TRN-MDL-00266691                           Deepwater Horizon Rig Move Maintenance Review                                    Childs
                TRN-HCJ-00127855 -
                TRN-HCJ-0027860
                TRN-MDL-00272357 -
TREX-01176      TRN-MDL-00272362                           Horizon Ram Cavity and Ram Block Measurement History                             Childs
                BP-HZN-2179MDL00751677 -
TREX-01183      BP-HZN-2179MDL00751690       June 2010     E-mail from Billy Stringfellow Attaching DNV Recertification of BOP              Childs
TREX-01193                                 February 2010   Rig Move Work List                                                               Childs



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Trial Ex. No.           Bates No.              Date                                    Subject/Description                            Expert/Report
                CAM_CIV_0003181 –
TREX-01199      CAM_CIV_0003190                1/1/08       Cameron EB 702 D – Shearing Capabilities of Shear Rams                        Childs
TREX-01300                                 September 2004   West Engineering Shear Ram Capabilities Study                                 Childs
                BP-HZN-2179MDL00259139
                BP-HZN-2179MDL00259157 -                    Drilling Contract, RBS-8D Semisubmersible Drilling Unit, between Vastar
TREX-01356      BP-HZN-2179MDL00259159       12/9/1998      Resources, Incorporated and R&B Falcon Drilling, Contract No. 980249          Childs
                BP-HZN-BLY00087011 -                        Email from Steve Robinson to James Wetherbee addressing BOP
TREX-01868      BP-HZN-BLY00087015             5/1/10       Switching Failures                                                            Childs
                BP-HZN-BLY00294826 -
TREX-01869      BP-HZN-BLY00294833                          Application for Revised New Well                                              Childs
                TRN-HCEC-00077244 -
                TRN-HCEC-00077250
                TRN-MDL-00118981 -
TREX-01870      TRN-MDL-00118987              3/14/06       Transocean Change Proposal, MOC SS-016                                        Childs
                BP-HZN-OIG00045764 -
TREX-01876      BP-HZN-OIG00045784            8/25/09       BP GP 10-10, Well Control Group Practice                                      Childs
                BP-HZN-BLY00000141 -
                BP-HZN-BLY00000180
                BP-HZN-BLY00299387 -
                BP-HZN-BLY00299393
                BP-HZN-BLY00000758 -
TREX-01878      BP-HZN-BLY00000760                          Bly Report, Analysis 5D. The Blowout Preventer Did Not Seal the Well          Childs
                BP-HZN-BLY00296547 -
TREX-01880      BP-HZN-BLY00296548                          Solenoid 103 – Did it Really Fail?                                            Childs
                BP-HZN-CEC029558 -
TREX-01890      BP-HZN-CEC029566              6/30/03       BP Incident Report: Drift Off and Emergency Riser Disconnect                  Childs
                BP-HZN-2179MDL00000884 -
TREX-01896      BP-HZN-2179MDL00000911                      Application for Permit to Drill a New Well                                    Childs
                                                            DNV Addendum to Final Report Related to Forensic Examination of
TREX-03124                                    4/30/11       Deepwater Horizon Blowout Preventer                                           Childs
TREX-03130      016862 - 016902                             Laboratory Notebook from DNV Testing                                          Childs
TREX-03139                                    5/27/11       DNV, Solenoid 103 Original Wiring Connections                                 Childs
                                                            DNV Phase I Test Data; Dugal-Whitehead, N., Test Preparation Sheet-
TREX-03148                                    6/15/11       Test of Blue SEM Batteries                                                    Childs




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Trial Ex. No.           Bates No.            Date                                   Subject/Description                               Expert/Report
                CAM_CIV_0225658 -
TREX-03167      CAM_CIV_0225660             5/14/10       E-mail from David McWhorter Re Shear Testing
                                                          Cameron Product Advisory #12114, EB 702 D Update Regarding Shearing
TREX-03168      CAM_CIV_0012630             6/21/07       Capabilities of Cameron Shear Rams                                              Childs

                                                          Cameron Safety Alert 22070, DNV Issues Final Report for U.S. Department
                CAM_CIV_0130520 -                         of the
TREX-03175      CAM_CIV_0130521             3/31/11       Interior, Forensic Examination of the Deepwater Horizon Blowout Preventer       Childs
                TRN-MDL-01120767 -
TREX-03259      TRN-MDL-01120777            5/16/07       Transocean Subsea Maintenance Philosophy                                        Childs
                TRN-MDL-01086873 -                        Letter from Pharr Smith Related to Transocean’s BOP Maintenance
TREX-03276      TRN-MDL-01086874            6/18/10       Philosophy                                                                      Childs
                TRN-MDL-01119375 -
TREX-03279      TRN-MDL-01119381            8/31/10       E-mail from Pharr Smith to Rob Turlak Re Recertification                        Childs
                TRN-MDL-00494920 -                        WEST Engineering Services, Inc. Evaluation of Secondary Intervention
TREX-03298      TRN-MDL-00495005            3/18/03       Methods in Well Control for US Minerals Management Service                      Childs
                TRN-INV-00103130 -
TREX-03335      TRN-INV-00103136            3/14/06       Transocean – Change Proposal SS-016; Approved                                   Childs
                TRN-HCEC-00007822 -                       Deepwater Horizon TL BOP Stack Operation & Maintenance Manual, Initial
TREX-03343      TRN-HCEC-00008055        September 2000   Release, Rev. A                                                                 Childs
                CAM_CIV_0046703 -                         Cameron Controls, Daily Report Sheet, Subsea Pod Intervention, Horizon,
TREX-03602      CAM_CIV_0046721             5/26/10       BP                                                                              Childs
                CAM_CIV_0003275 -
TREX-03605      CAM_CIV_0003276              9/8/04       Cameron EB 891 D: AMF/Deadman Battery Replacement                               Childs
                TRN-INV-01523282 -
TREX-03795      TRN-INV-01523284            10/25/10      E-mail from Geoff Boughton Re Weekly Report from Michoud                        Childs
                TRN-INV-01798503 -
TREX-03797      TRN-INV-01798507             5/9/10       E-mail from Ron Guidry Re Solenoid Repair and Replacement                       Childs
                TRN-MDL-01547899 -                        Transocean Technical Bulletin – Instructions for Rebuilding Cameron
TREX-03798      TRN-MDL-01547905             9/9/02       Controls Solenoid Valve                                                         Childs
TREX-03808                                 June 2011      Transocean Investigation Report Volume I                                        Childs
TREX-03948                                                Event Timeline                                                                  Childs
                                                          Cameron EB 895D: Operating Pressure General Recommendations for
TREX-03952      CAM_CIV_0012821             10/16/07      Annular BOPs                                                                    Childs




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Trial Ex. No.            Bates No.           Date                                Subject/Description                            Expert/Report
                BP-HZN-JIT0007175
TREX-03954      BP-HZN-2179MDL01155979                  Shear Calculation Spreadsheet                                               Childs
TREX-03976                                  10/28/08    Cameron Engineering Report Abstract                                         Childs
TREX-03977      BP-HZN-BLY00362322                      Table Containing Shear Data for Tubulars                                    Childs
                BP-HZN-CEC029828 -
TREX-04100      BP-HZN-CEC029829            8/24/06     E-mail from G. Coltrin Re BOP Shear Rams with Shear Data Attached           Childs
                BP-HZN-BLY00103459 -
TREX-04101      BP-HZN-BLY00103461          7/21/10     E-mail from T. Knudsen Re BOP Shear Rams with Shear Data                    Childs
                BP-HZN-BLY00353998 -
TREX-04104      BP-HZN-BLY00354001          7/28/10     Terms of Reference – Establishing BOP Shear Capabilities                    Childs
                BP-HZN-MBI00021461 -
                BP-HZN-MBI00021464
                BP-HZN-MBI00021479 -
                BP-HZN-MBI00021480
                BP-HZN-MBI00021507 -
                BP-HZN-MBI00021509
                BP-HZN-MBI00021538 -
TREX-04112      BP-HZN-MBI00021547          12/9/98     Drilling Contract, Vastar and R&B Falcon                                    Childs
TREX-04304                                   6/1/11     Macondo Well Incident,Transocean Investigation Report, Volume II            Childs
                TRN-INV-01747000 -
TREX-04306      TRN-INV-017470001           5/13/10     E-mail from P. Smith Re MUX Batteries                                       Childs
                BP-HZN-2179MDL03106206 -
TREX-04423      BP-HZN-2179MDL03106207      11/14/01    Email from Michael Byrd to Curtis Jackson and Don Weisinger                 Childs
TREX-07001                                  10/30/98    Cameron EB 852D: Shear Ram Product Line                                     Childs
                                                        West Engineering Services: Using BOP at Pressures in Excess of Rated
TREX-07003                                  10/10/06    Working Pressure                                                            Childs
TREX-07004      BP-HZN-BLY00063678                      BP Gulf of Mexico – MMS APD Worksheet                                       Childs
TREX-07008                                              Erwin Shearing Calculations                                                 Childs
TREX-07013                                   5/24/11    DNV: Test procedure for wiring of Solenoid 103Y                             Childs
TREX-07025      CAM_CIV_0079411 – 79413     11/11/09    Cameron Customer Contact Report re EB 902D presentation                     Childs
TREX-07030      CAM_CIV_0012825 – 12829      2/25/09    Cameron EB 902D: Inspection and Recertification                             Childs

                DNV007-000191                           DNV Phase I Test Data; Dugal-Whitehead, N., Test Preparation Sheet –
TREX-33008      DNV007- 000193              2/28/11     BOP Solenoid Drop Out and Pick Voltage Test of Yellow Pod 3A Solenoid       Childs




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 Trial Ex. No.   Bates No.           Date                                  Subject/Description                         Expert/Report
                                                DNV Phase I Test Data; Dugal-Whitehead, N., Test Preparation Loaded
                                                Battery Summary Data Test of Deepwater Horizon Blowout Preventer
 TREX-33020                          3/1/11     Batteries – Yellow                                                         Childs
 TREX-50001                         9/23/10     Expert Report of Greg Childs - Blowout Preventer (BOP)                     Childs
                                                Attachment A to Greg Childs' Report - Cameron EB 702 D, Rev B10,
TREX-50001.01                                   Shearing Capabilities of Cameron Shear Rams                                Childs
                                                Attachment B to Greg Childs' Report - Cameron EB702 Shear Calculations
TREX-50001.02                                   Summary by Greg Childs                                                     Childs
                                                Attachment C to Greg Childs' Report - Cameron EB 702 D, Rev B10,
TREX-50001.03                                   Shearing Capabilities of Cameron Shear Rams                                Childs
TREX-50001.04                                   Curriculum Vitae of E.G.(Greg) Childs, P.E.                                Childs

TREX-50001.05                                   Figure 1: Cutaway View of Deepwater Horizon BOP Stack Components                Childs

                                                Figure 2: Cameron Blind Shear Rams, Known as Shearing Blind Rams,
TREX-50001.06                                   are Designed to Shear Drill Pipe and Seal the Wellbore                          Childs
                                                Figure 3: Cameron SBR Shown Closed Against 5.5” Drill Pipe;
TREX-50001.07                                   Upper Blade on the Left, Lower on the Right                                     Childs

                                                Figure 4: Cameron Casing Shear Rams, Known as Super Shear Rams,
                                                are Designed to Shear Casing and Larger Tubulars But Do Not Seal the
TREX-50001.08                                   Wellbore                                                                        Childs
                                                Figure 5: Drill Pipe Tool Joint Lifted by Flow into the Upper Annular BOP
TREX-50001.09                                   Element                                                                         Childs
                                                Figure 6: Illustration and Photograph of Drill Pipe Tool Joint Erosion in the
                                                Upper Annular (Photograph Taken During Forensic Examination at
TREX-50001.10                                   Michoud)                                                                        Childs
                                                Figure 7: Photograph of Eroded Drill Pipe Tool Joint from the Upper
TREX-50001.11                                   Annular (at Michoud)                                                            Childs
                                                Figure 8: DNV’s Three Dimensional Scans of the Drill Pipe Tool Joint from
TREX-50001.12                                   the Upper Annular                                                               Childs
                                                Figure 9: DNV’s Illustration of the Drill Pipe Bowed in the Wellbore. The
TREX-50001.13                                   Oval Represents the Blind Shear Ram Cavity.                                     Childs
TREX-50001.14                                   Figure 10: Rupture of the Drill Pipe at the Upper Annular                       Childs
TREX-50001.15                                   Figure 11: Tensile Failure of the Drill Pipe at the Upper Annular               Childs



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TREX-50001.16                                            Figure 12: Eroded BOP Body Area at the Blind Shear Ram                              Childs
TREX-50001.17                                            Figure 13: Sheared Drill Pipe Forced Through the Upper Annular                      Childs
TREX-50001.18                                            Figure 14: Final Position of the Riser                                              Childs
                                                         Figure 15: Stress’ graph showing the upward load on the drill pipe starting
                                                         at 21:39.
                                                         The load at 21:43:40 when the annular was closed begins to exceed the
TREX-50001.19                                            drill pipe weight.                                                                  Childs
                                                         Figure 16: Cameron SBR Closing on the Drill Pipe That Was Forced Off-
TREX-50001.20                                            Center                                                                              Childs
                                                         Figure 17: DNV s Comparison of the Recovered Drill Pipe Segments and
                                                         Final Model
TREX-50001.21                                            (Left – Viewed facing the Upper BSR Block; Right – Viewed facing Lower              Childs

                                                         Figure 18: Left illustration depicts DNV’s model of what the drill pipe could
                                                         have looked like. The middle illustration is a model of the actual drill pipe
                                                         with the foldover section not shown. The right-most illustration is the laser
TREX-50001.22                                            model showing final deformations on the drill pipe.                                 Childs
                                                         Figure 19: Erosion Damage of the Blind Shear Ram Blocks and the
                                                         Wellbore.
                                                         (The image on the left is viewed from the kill side, while the image on the
TREX-50001.23                                            right is from the opposite direction.)                                              Childs
                                                         Figure 20: DNV Models Showing Drill Pipe Position and Standoff Between
TREX-50001.24                                            the Upper and Lower Blind Shear Ram Blocks                                          Childs
                                                         Figure 21: DNV’s Blind Shear Ram Model Showing the 2.2 Inch
TREX-50001.25                                            Standoff Between the Lower Blade and the Blade Packer                               Childs
TREX-50001.26    BP-HZN-OIG00045778                      Figure 22: Excerpt from BP’s Best Practices Manual, GP 10-10.                       Childs

                                                         Figure 23: Position of the Blind Shear Rams and VBRs Following AMF
TREX-50001.27                                            Activation
                                                         Figure 24: Blind Shear Ram ST Lock in the Locked Position Following AMF
TREX-50001.28                                            Activation                                                                          Childs
                                                         Figure 25: Data Acquisition Screen Shot from DNV Testing, June 6, 2011,
TREX-50001.29                                            Showing the Pulse Timing.                                                           Childs
                                                         Investigation Ticket – Determine if shearing capability prevented shearing
 TREX-50144      TRN-INV-01827692             3/8/11     and sealing of the well                                                             Childs




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Trial Ex. No.            Bates No.               Date                                        Subject/Description                            Expert/Report
                                                               Investigation Ticket – Were maintenance and operations carried out per
TREX-50145      TRN-INV-03405383               1/14/11         the U.S. Regulations (CFR) requirements?                                         Childs
                TRN-MDL-02791081 -                             E-mail from G. Childs to M. Thibodeaux with attached excerpt from 30 CFR
TREX-50146      TRN-MDL-02791089                               Part 250 referencing API.doc                                                     Childs
TREX-50147                                                     RMS II Maintenance Plan – Mark II Pod PMs                                        Childs
                                                               American Petroleum Institute, Specification for Drill Through Equipment,
TREX-50148                                 December 1997       16A, 2nd Edition                                                                 Childs
                                                               American Petroleum Institute, Specification for Control Systems for Drilling
                                                               Well Control Equipment and Control Systems for Diverter Equipment, 16D,
TREX-50149                                    July 2004        2nd Edition                                                                      Childs
                                                               Stress Engineering Services Inc. Hydraulic Analysis of Macondo #252 Well
TREX-50150                                     4/27/11         Prior to Incident of April 20, 2010, Revision 1                                  Childs
                                                               Stress Engineering Services Inc. Structural Analysis of the Macondo #252
TREX-50151                                     May 2011        Work String                                                                      Childs
                                            4/5/10 - 4/15/10
TREX-50152                                 4/15/10 - 4/20/10   Sperry Drilling Services' Data Logs                                             Childs
TREX-50153                                                     INTENTIONALLY LEFT BLANK                                                        Childs
TREX-50154      TRN-INV-00895140               5/26/10         BPTODDI, ERC E-mail to James Bjornstad, et al.                                  Childs
TREX-50155                                                     INTENTIONALLY LEFT BLANK                                                        Childs
                                                               Expro and Oceaneering Video Taken in the Bore of the BOP on Board the
TREX-50156                                 September 2010      Q4000                                                                           Childs
TREX-50157      TRN-INV-01841838               6/25/08         Letter from Nick Wetzel, U.S. Department of the Interior, to BP                 Childs
                TRN-INV-01877450 -
TREX-50158      TRN-INV-01877478               3/24/11         Assembly and Test Procedure for Cameron Solenoid Valves                         Childs
                BP-HZN-2179MDL00161053 -
TREX-50159      BP-HZN-2179MDL00161067         3/15/10         Application for Bypass                                                          Childs
TREX-50160                                                     30 C.F.R. § 250.447 to 250.449                                                  Childs
                BP-HZN-MBI00135226 -
TREX-50161      BP-HZN-MBI00135227             2/23/10         Daily Operations Report                                                         Childs
TREX-50162                                     4/26/10         Boa Subsea Daily Log                                                            Childs
                CAM_CIV_0003105 -
TREX-50163      CAM_CIV_0003106              11/11/2009        Cameron Safety Alert 22258, Reduced Fatigue Life of Packer                      Childs
                TRN-INV-00125021 -                             Deepwater Horizon BOP Subsea Hydrostatic Test, Well Number MC252,
TREX-50164      TRN-INV-00125032           2/10/10 - 2/11/10   Macondo #1                                                                      Childs
TREX-50165                                  8/4/11 - 8/6/11    Testing Notes from Transocean Internal Investigation                            Childs



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Trial Ex. No.            Bates No.           Date                                Subject/Description                              Expert/Report
                TRN-INV-03489816 -                      DNV Phase I Test Data; Dugal-Whitehead, N., Test Preparation Sheet –
TREX-50166      TRN-INV-03489826            2/25/11     BOP Solenoid Drop Out and Pick Voltage Test                                   Childs
                TRN-MDL-02806164 -                      Email from Ewen Florence to Philippe Leclerc re: Cameron Accumulators
TREX-50167      TRN-MDL-02806169            9/20/10     true volume                                                                   Childs
                TRN-MDL-02795251 -                      Email from Geoff Boughtton to Ronald Guidry re: Issue on the Horizon with
TREX-50168      TRN-MDL-02795255            5/9/2010    PIE Connectors                                                                Childs
                TRN-INV-02853662 -
TREX-50169      TRN-INV-02853668            2/9/2011    DWH SEM Battery change outs                                                  Childs




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